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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION



       VITALLIANCE CORPORATION,

                      Plaintiff,
                                                            CASE NO. 3:20-CV-00002
                         v.

       I+SOLUTIONS, a Dutch company,

                     Defendant

       AGREED MOTION TO ENLARGE TIME TO RESPOND TO PLAINTIFF’S
        FIRST AMENDED COMPLAINT AND REQUEST FOR INJUNCTIONS

       Defendant i+Solutions (“Defendant”) and Plaintiff Vitalliance Corporation (“Plaintiff”)

jointly move to enlarge the time for Defendant to respond to Plaintiff’s First Amended

Complaint and Requests for Injunctions (the “Complaint”), up to and including April 14, 2020.

Defendant and Plaintiff (individually, “Party” and collectively, the “Parties”) move for such

relief, and in support state:

        1.      Plaintiff filed its Complaint on January 4, 2020. [Dkt. No. 7]. Defendant’s current

deadline to answer or otherwise respond, is February 12, 2020.

        2.      The Parties’ require additional time to consider and engage in alternative dispute

resolution procedures.

        3.      This motion is not presented for the purposes of delay, but rather so that justice

may be done. No other deadlines will be affected by the extension of time sought.

        4.      No Party will be prejudiced by granting the requested agreed relief.

        For these reasons, the Parties respectfully request the Court to enlarge the time to and

including April 14, 2020 for Defendant to respond to the Complaint [Dkt. No. 7] by granting the



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stipulation and proposed order agreed upon by the Parties and presented herewith and to grant

each Party such other and further relief to which they are justly entitled.

Dated: February 11, 2020.

                                                      Respectfully submitted,



/s/ Clement Osimetha                              /s/ LaCrecia Perkins
Clement Osimetha                                  LaCrecia Perkins
Texas Bar No. 00794407                            Texas Bar No. 24091574
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                                                  Attorneys for i+Solutions
                                                  Pro Hac Vice forthcoming


                              CERTIFICATE OF CONFERENCE

         The undersigned certifies that counsel for Defendant i+Solutions has conferred with
counsel for Plaintiff Vitalliance Corporation, and all parties so identified are AGREED to the
relief sought.
                                              /s/ LaCrecia Perkins
                                             One of Counsel




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                               CERTIFICATE OF SERVICE

        I certify that on February 11, 2020, I electronically submitted the foregoing document
with the clerk of the court for the U.S. District Court, Northern District of Texas, using the
electronic case filing system of the court.


                                            /s/ LaCrecia Perkins
                                           One of Counsel




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